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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION


 JANE DOES 1-9,

                   Plaintiffs,                             Case No.: 7:20-cv-00947
 vs.

 COLLINS       MURPHY,        SHARON               WISEBITS IP, LTD.’S MOTION FOR
 HAMMONDS, BRENDA F. WATKINS,                           PROTECTIVE ORDER
 LIMESTONE        UNIVERSITY,     MG
 FREESITES, LTD., d/b/a PORNHUB.COM,
 MG FREESITES II LTD., MINDGEEK
 S.A.R.L., MINDGEEK USA, INC., MG
 BILLING LTD., and HAMMY MEDIA LTD.
 d/b/a XHAMSTER.COM, TRAFFICSTARS
 LTD., WISEBITS LTD, XHAMSTER IP
 HOLDINGS LTD, WISEBITS IP LTD.,

                  Defendants.

 JANE DOE,

                    Plaintiff,                             Case No.: 7:21-cv-03193
 vs.

 LIMESTONE      UNIVERSITY    F/K/A                WISEBITS IP, LTD.’S MOTION FOR
 LIMESTONE      COLLEGE,   COLLINS                      PROTECTIVE ORDER
 MURPHY, MG FREESITES, LTD., d/b/a
 PORNHUB.COM, and HAMMY MEDIA,
 LTD. d/b/a XHAMSTER.COM,

                  Defendants.



        Defendant Wisebits IP, LTD hereby moves for a protective order as required by Local Rule

30.04; Federal Rules of the Civil Procedure 26(c) and 30(d)(3). The grounds for this motion, as
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more fully set forth in the attached memorandum of law and whatever oral argument the court

requires, are that Plaintiffs’ counsel’s examination was improper under Local Civil Rules and

Federal Rules of the Civil Procedure.

                                                 Respectfully Submitted,

                                                 /s/ Hannah Rogers Metcalfe
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                                                 Attorneys for Wisebits IP, Ltd.

February 28, 2024
Greenville, South Carolina




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